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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY
                                   CAMDEN VICINAGE


                                                      :   Case No. 08-14631 (GMB)
    In re:                                            :   (Jointly Administered)
                                                      :
    Shapes/Arch Holdings L.L.C., et al.               :   Chapter 11
                                                      :
                              Debtors.                :
                                                      :


       CERTIFICATION OF NO OBJECTION TO THE APPLICATION FOR THE
        ADMISSION OF NANCY A. MITCHELL, ESQUIRE TO BE ADMITTED
           PRO HAC VICE AS COUNSEL TO ARCH ACQUISITION I, LLC
                             [DOCKET NO. 126]

                       The undersigned hereby certifies that the deadline for filing objections has

    passed and that no answer, objection or any other pleading has been received in response

    to the Application For The Admission Of Nancy A. Mitchell, Esquire To Be Admitted

    Pro Hac Vice As Counsel To Arch Acquisition I, LLC [Docket No. 126] (the

    “Application”) which was filed on April 9, 2008. Pursuant to the electronic case filing

    notice which accompanied the Application, objections to the Application were to be filed

    no later than April 16, 2008. The Court’s docket reflects that no objections were filed




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    and no objections to the Application have been received by counsel for Arch

    Acquisition I, LLC.

                       Accordingly, Arch Acquisition I, LLC respectfully requests that the Court

    enter the order attached to the Application at the Court’s earliest convenience.



    Dated: April 17, 2008
                                                    GREENBERG TRAURIG, LLP
                                                    Counsel for Arch Acquisition I, LLC


                                                    By: /s/ Diane E. Vuocolo
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